Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 1 of 12 Page ID #:2088



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23
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24
                       CENTRAL DISTRICT OF CALIFORNIA
25
26   DOMINIC ARCHIBALD AND                 Case No. 5:16-cv-01128 –AB-SPx
27   NATHANAEL PICKET, I, AS
     INDIVIDUALS AND AS                    [Hon. Andre Birotte, Jr.]
28   SUCCESSORS IN INTEREST TO

                                         1.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 2 of 12 Page ID #:2089



 1   NATHANAEL H. PICKETT II,
     DECEASED.
 2                                         JOINT EXHIBIT LIST
                          Plaintiffs,
 3
                  vs.
 4
     COUNTY OF SAN BERNARDINO,
 5   KYLE HAYDEN WOODS, WILLIAM
     KELSEY, and DOES 2-10,
 6   INCLUSIVE,
                       Defendants.
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                                         2.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 3 of 12 Page ID #:2090



 1   TO THE HONORABLE COURT AND TO ALL PARTIES HEREIN:
 2         PLEASE TAKE NOTICE THAT the parties hereby submit their [Proposed]
 3   Exhibit List. The parties reserve the right to amend, supplement or revise this list.
 4   Respectfully submitted,
 5
 6   DATED: January 22, 2018
 7                                          LAW OFFICES OF DALE K. GALIPO
                                            LAW OFFICE OF JAMES S. TERRELL
 8                                          LAW OFFICES OF SHARON J. BRUNNER
 9
10                                    By:   ____/s Hang D. Le
                                            Dale K. Galipo
11                                          James S. Terrell
12                                          Sharon J. Brunner
                                            Hang Le
13                                          Attorneys for Plaintiff
14                                          DOMINIC ARCHIBALD
15
16
     DATED: January 22, 2018                ALVAREZ-GLASMAN & COLVIN
17
18
                                      By:   ____/s Roger A. Colvin_____
19                                          ROGER A. COLVIN
20                                          Attorneys for Defendants
                                            COUNTY OF SAN BERNARDINO, KYLE
21                                          WOODS, AND WILLIAM KELSEY
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                                              3.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 4 of 12 Page ID #:2091



 1   Plaintiffs’ Exhibits
 2   Exh.                                                        Date       Date
 3   No.         Description         Objection and Reasons     Identified Admitted
      1 Surveillance Videos of
 4        the November 19, 2015
 5        Incident from El Rancho
          Motel
 6    2 November 19, 2015
 7        Audio Belt Recording of
          Incident from Deputy
 8        Woods
 9    3 Transcript of the
          November 19, 2015
10        Audio Belt Recording of
11        Incident from Deputy
          Woods
12
      4 San Bernardino County
13        Sheriff’s Department
          Officer Involved
14
          Shootings Policies
15        (CSB 00379-00384)
      5 San Bernardino County
16
          Sheriff’s Department
17        Use of Force Policies
          (CSB 00385-00390)
18
      6 Relevant portions of
19        P.O.S.T. Learning
20        Domain 20 – Use of
          Force
21    7 Relevant portions of
22        P.O.S.T. Learning
          Domain 37 – People
23        with Disabilities
24    8 Relevant portions of
          P.O.S.T. Learning
25        Domain 33 – Firearm
26        Retention
      9 Autopsy Report by Dr.
27        Howard Oliver
28    10 Riverside County

                                         1.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 5 of 12 Page ID #:2092



 1   Exh.                                                           Date       Date
 2   No.           Description           Objection and Reasons    Identified Admitted
            Coroner Autopsy Report
 3          by Dr. Scott McCormick
 4    11    Photographs of              FRE 401, 402, 403
            Nathanael Pickett, II at
 5          the Scene
 6    12    Photographs of the Scene    FRE 401, 402, 403
      13    Aerial Photographs of
 7          the Scene
 8    14    Photographs of              FRE 401, 402, 403
            Nathanael Pickett, II
 9
            from Autopsy
10    15    Photographs of Deputy
            Kyle Woods taken on
11
            November 19, 2015 after
12          the Incident
      16    Photographs of              FRE 401, 402, 403
13
            Nathanael Pickett, II and
14          Family
15    17    Photographs of              FRE 401, 402, 403; FRCP
            Nathanael Pickett, II’s     26, 37
16          Funeral
17    18    Documents Regarding
            Funeral & Burial
18          Expenses
19    19    Training Records of
            Kyle Woods
20    20    Citizen Volunteer
21          Program Policy Manual
      21    December 17, 2015           FRE 801, 802
22          Audio Recordings of
23          Kyle Woods Statements
            given to Detective Libby
24    22    Transcript of December      FRE 801, 802
25          17, 2015 Audio
            Recordings of Kyle
26          Woods Statements given
27          to Detective Libby
      23    El Rancho Rental
28
                                             2.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 6 of 12 Page ID #:2093



 1   Exh.                                                               Date       Date
 2   No.            Description          Objection and Reasons        Identified Admitted
            Agreement and/or Lease
 3    24    Detailed History Report     FRE 401, 402, 403
 4    25    Portions of Video 15-       FRE 401, 402, 403
            4825 02.
 5    26    June 6, 2017 Kyle           FRE 401, 402, 403; Privacy
 6          Woods’ Work
            Performance Evaluation
 7    27    Photographs of Kyle
 8          Woods’ Firearm
      28    Photographs of Kyle
 9
            Woods’ hands and face
10          after the incident
      29    Still Photographs of        FRE 401, 402, 403
11
            Video Recordings of the
12          Incident
13    30    (1) 9/13/14 screenshot of   FRE 401, 402, 403; FRCP
            Pandora song liked          26, 37; Post discovery cut-
14          “Animal I Have Become       off disclosure
15          by Thee Days Grace” by
            Kyle Hayden Woods on
16          Facebook.com
17          (2) 9/11/14 screenshot of
            Pandora song liked “The
18          Good Life by Thee Days
19          Grace” by Kyle Hayden
            Woods on Facebook.com
20          (3) 9/10/14 screenshot of
21          Pandora song liked
            “Animal I Have Become
22          by Thee Days Grace” by
23          Kyle Hayden Woods on
            Facebook.com
24    31    Victor Valley News          FRE 401, 402, 403; FRCP
25          (VVNG.COM) print-out        26, 37; Post discovery cut-
            of 9/14/15 Story “CHP       off disclosure
26          Officer Kicked in the
27          Chest by Combative
            Suspect” (3PGS)
28
                                              3.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 7 of 12 Page ID #:2094



 1   Exh.                                                             Date       Date
 2   No.          Description          Objection and Reasons        Identified Admitted
      32 El Rancho Motel              FRE 401, 402, 403
 3        Security Camera Footage
 4        (CAM11) from
          11/19/2015 21:16:31
 5        showing hand shoving
 6        Nathaniel Picket down
          stairs
 7    33 El Rancho Motel              FRE 401, 402, 403
 8        Security Camera Footage
          (CAM11) from
 9        11/19/2015 21:16:31
10        showing Kyle Woods
          approaching Nathaniel
11        Picket as he crashes
12        down cement stairs
      34 El Rancho Motel              FRE 401, 402, 403
13
          Security Camera Footage
14        (CAM11) from
          11/19/2015 21:16:31
15
          showing Kyle Woods
16        approaching Nathaniel
          Picket as Nathaniel
17
          raises his hands
18    35 10/16/14 screenshot of       FRE 401, 402, 403; FRCP
          Kyle Woods posted           26, 37; Post discovery cut-
19
          selfie from                 off disclosure
20        Facebook.com
21    36 1/21/15 Daily Journal        FRE 401, 402, 403; FRCP
          article print-out “New      26, 37; Post discovery cut-
22        California Laws for         off disclosure
23        2015” AB 2634:
          Clarification of remedies
24        under Bane Act
25    37 1/16/18 Meta Print-out       FRE 401, 402, 403; FRCP
          of preliminary audio file   26, 37; Post discovery cut-
26        approximate time            off disclosure
27        stamp/markers from
          audio extracted and
28
                                            4.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 8 of 12 Page ID #:2095



 1   Exh.                                                                Date       Date
 2   No.           Description            Objection and Reasons        Identified Admitted
            analyzed from Defense
 3          A/V Sync Video
 4    38    Use of force manual          FRE 401, 402, 403; FRCP
            “Sheriff’s Department        26, 37; Post discovery cut-
 5          Manual” (Pages 616-          off disclosure
 6          621)
      39    Witness Video Amy            FRE 401, 402, 403; FRE
 7          “Amy Witness.MOV”            801, 802; FRE 901, 902
 8          conducted by Private
            Investigator Cliff Harris
 9          (7:55 in length)
10    40    Witness Video of James       FRE 401, 402, 403; FRE
            Kennedy conducted by         801, 802; FRE 901, 902
11
            Private Investigator Cliff
12          Harris “James
            Kennedy.MOV” (11:19
13
            in length)
14    41    Witness Video of Rorel       FRE 401, 402, 403; FRE
            McNeese conducted by         801, 802; FRE 901, 902
15
            Private Investigator Cliff
16          Harris “Rorel
            McNeese.MOV” (19:42
17
            in length)
18    42    El Rancho Motel              FRE 401, 402, 403; FRCP
19          Security Camera System       26, 37; Post discovery cut-
            export file name             off disclosure; FRE 901,
20          1~10~11~13.exe               902
21    43    El Rancho Motel              FRE 401, 402, 403; FRCP
            Security Camera System       26, 37; Post discovery cut-
22          export file name             off disclosure; FRE 901,
23          13~11~10~1.exe               902
      44    El Rancho Motel              FRE 401, 402, 403; FRCP
24          Security Camera System       26, 37; Post discovery cut-
25          export file name             off disclosure; FRE 901,
            13~11~10~1~002.exe           902
26    45    El Rancho Motel              FRE 401, 402, 403; FRCP
27          Security Camera System       26, 37; Post discovery cut-
            export file name             off disclosure; FRE 901,
28
                                               5.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 9 of 12 Page ID #:2096



 1   Exh.                                                              Date       Date
 2   No.           Description          Objection and Reasons        Identified Admitted
            13~11~10~1~003.exe         902
 3    46    El Rancho Barstow LLC
 4          Rental Agreement and/or
            Lease for Nathaniel
 5          Pickett (1 pg)
 6    47    El Rancho Motel            FRE 401, 402, 403; FRCP
            Exterior Photos taken by   26, 37; Post discovery cut-
 7          Aaron Conaway              off disclosure; FRE 901,
 8          6/12/2016                  902
            (IMG_1035.JPG -
 9          IMG_1055.JPG)
10    48    1/15/18 Audio File         FRE 401, 402, 403; FRCP
            EXCERPT from Defense       26, 37; Post discovery cut-
11
            Belt recording A/V Sync    off disclosure; FRE 901,
12          video, GONNA               902
            SHOOT.mp3 (7 seconds
13
            duration)
14   48-    Reserved for Plaintiffs
     100
15
16
     Defendants’ Exhibits
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18   Exh.                                                              Date       Date
19    No         Description          Objection and Reasons          Identified Admitted
      101 Portions of the San       FRE 401, 402, 403, 801,
20        Bernardino District       802. Irrelevant, unduly
21        Attorney’s Office Report prejudicial, hearsay,
                                    Information Unknown to
22                                  the Deputy, Subject to
23                                  Pending Motion in Limine
      102 Deputy Woods’ Medical FRE 401, 402, 403, 801,
24        Records related to        802. Irrelevant, unduly
25        injuries sustained during prejudicial, hearsay, lacks
          incident                  foundation
26    103 Riverside County
27        Autopsy Report
      104 Decedent’s Toxicology FRE 401, 402, 403, 801,
28
                                             6.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 10 of 12 Page ID #:2097



 1   Exh.                                                        Date       Date
 2    No          Description         Objection and Reasons    Identified Admitted
            Reports                 802. Irrelevant, unduly
 3                                  prejudicial, hearsay,
 4                                  Information Unknown to
                                    the Deputy, Subject to
 5                                  Pending Motion in Limine
 6    105 POST Learning Domain
          #15 “Laws of Arrest”
 7    106 POST Learning Domain
 8        #20 “Use of Force”
      107 POST Learning Domain
 9        #33 “Arrest and Control”
10    108 POST Learning Domain
          #37 “People with
11
          “Disabilities”
12    109 San Bernardino Sheriff’s
          Dept. Taser Policy
13
      110 X26 Taser Training
14        Manual, Version 15
15    111 El Rancho Motel
          Surveillance Video
16    112 Deputy Wood’s Belt
17        Recorder
      113 Deputy Dickey’s Belt
18        Recorder
19    114 Defendants’ Expert
          Synchronized
20        Audio/Video
21    115 Defendants’ Expert       FRE 401, 402, 403, 702.
          Video Comparison         Irrelevant, unduly
22                                 prejudicial, cumulative,
23                                 improper expert testimony
      116 Defendant’s Expert       FRE 401, 402, 403, 801,
24        Witness Report           802. Irrelevant, unduly
25        “Clarence Chapman”       prejudicial, cumulative,
                                   hearsay
26    117 Defendant’s Expert       FRE 401, 402, 403, 801,
27        Witness Report “Parris   802. Irrelevant, unduly
          Ward”                    prejudicial, cumulative,
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                                          7.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 11 of 12 Page ID #:2098



 1   Exh.                                                            Date       Date
 2    No          Description         Objection and Reasons        Identified Admitted
                                    hearsay
 3    118   Defendant’s Expert      FRE 401, 402, 403, 801,
 4          Report “Dr. Marc        802. Irrelevant, unduly
            Cohen”                  prejudicial, cumulative,
 5                                  hearsay
 6    119   Criminal History of     FRE 401, 402, 403, 404,
            Decedent                801, 802. Irrelevant,
 7                                  unduly prejudicial,
 8                                  cumulative, hearsay,
                                    improper character
 9                                  evidence, Information
10                                  Unknown to the Deputy,
                                    Subject to Pending Motion
11                                  in Limine
12    120   Decedent’s Arrest       FRE 401, 402, 403, 404,
            Report from the Barstow 801, 802. Irrelevant,
13
            Police Department       unduly prejudicial,
14                                  cumulative, hearsay,
                                    improper character
15
                                    evidence, Information
16                                  Unknown to the Deputy,
                                    Subject to Pending Motion
17
                                    in Limine
18    121   Transcript of Deputy    FRE 401, 402, 403, 702,
            Woods’ Belt Recorder    801, 802. Irrelevant,
19
            prepared by the S. B.   unduly prejudicial, hearsay,
20          District Attorney’s     improper expert testimony
21          Office
      122   Transcript of Deputy    FRE 401, 402, 403, 801,
22          Dickey’s Belt Recorder 802. Irrelevant, unduly
23          prepared by the S. B.   prejudicial, hearsay,
            District Attorney’s     improper expert testimony
24          Office
25    123   San Bernardino County
            Sheriff’s Department
26          Officer Involved
27          Shootings Policy
      124   San Bernardino County
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                                           8.
Case 5:16-cv-01128-AB-SP Document 108 Filed 01/22/18 Page 12 of 12 Page ID #:2099



 1   Exh.                                                        Date       Date
 2    No         Description         Objection and Reasons     Identified Admitted
          Sheriff’s Department
 3        Use of Force Policy
 4    125 Aerial Photographs of El
          Rancho Motel
 5    126 Photographs of Deputy    FRE 401, 402, 403.
 6        Woods Injuries           Irrelevant, unduly
                                   prejudicial, misleading,
 7                                 cumulative.
 8    127 Autopsy Report by Dr.
          Howard Oliver
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